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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

RICHARD J. ABRAMO, ROBERT V.
BROWN, and JOHN A. TOMASSETTI,

                             Plaintiffs,

       v.                                               1:09-CV-269 (LEK/DRH)


TEAL, BECKER & CHIARAMONTE,
CPA’s, P.C., and JAMES W. DRISLANE,
CPA,

                             Defendants.




                         MEMORANDUM-DECISION AND ORDER



I.     INTRODUCTION

       Presently before the Court is Defendants’ Motion to dismiss (Dkt. No. 5) Plaintiffs’

Complaint (Dkt. No. 1) in its entirety. Plaintiffs Richard Abramo, Robert Brown and John

Tomassetti assert claims of professional malpractice (Claim One), fraudulent misrepresentation

(Claim Two), aiding and abetting fraud (Claim Three), aiding and abetting a breach of fiduciary

duty (Claim Four), and conspiracy in violation of the Racketeering Influence and Corrupt

Organizations Act under section 1962(d) of that Act (Claim Five). Defendants are the accounting

firm Teal, Becker & Chiaramonte, CPA’s, P.C. (“TBC”) and James W. Drislane, CPA (“Drislane”).

On March 6, 2009, Defendants removed this case from Albany County Supreme Court to the



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Northern District of New York, whereupon this Court assumed jurisdiction pursuant to 28 U.S.C.

§1441(a) and 28 U.S.C. 1332(a) based on an amount in controversy in excess of $75,000 and

complete diversity between Plaintiffs, citizens of New Jersey, and Defendants, citizens of New

York. For the reasons that follow, Defendants’ Motion to dismiss is granted in part and denied in

part.



II.     BACKGROUND

        Plaintiffs in this action are three former co-owners of Tougher Industries, Inc. (“Tougher”), a

closely-held New York corporation which operated as a general contractor for construction work

during the period relevant for this litigation. Compl. at 3. Along with non-party Steven Shaw

(“Shaw”), the Plaintiffs obtained all capital stock in Tougher on or around September 22, 2003. Id.

Plaintiffs’ ownership interest in the company continued until December 31, 2005, at which time

they sold all of their shares to Shaw. In the intervening period, Plaintiffs held positions on the

Tougher board of directors, and Shaw served as the company’s president. Id. Of particular

importance to this action, Shaw employed Defendant TBC to provide various accounting-related

services for Tougher beginning, according to Plaintiffs, in September 2003. Defendants explain that

TBC was engaged after the acquisition of the company by Plainitiffs and Shaw, and that TBC was

employed only by Tougher. Mot. at 2. The Complaint’s causes of action stem from the manner in

which Plaintiffs allege that TBC and Drislane performed certain services in the course of their work

for Tougher and Shaw.

        Plaintiffs allege that TBC was hired as Tougher’s independent certified accountants and

auditors, with Drislane principally in charge of this work. Compl. at 4. From the fiscal year ending


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on December 31, 2003 through part of 2005 and fiscal quarters during that period, Plaintiffs assert

that Defendants undertook to prepare and certify the financial statements of Tougher, and that TBC

generally undertook to examine and advise Tougher’s accounting and bookkeeping. Id. Plaintiffs

contend that Defendants also performed tax filing work for the Plaintiffs’ personal tax returns in

2003 and 2004; the Defendants, however, expressly deny that this latter work occurred and submit

that Jump, Scutellaro and Company, L.L.P, said to be Plaintiffs’ personal accountants in New

Jersey, performed the tasks. Mot. at 2. Plaintiffs allege that Shaw functioned as the primary contact

between Tougher and TBC, and that the documents and information used by Defendants was

provided by Shaw and employees under his control. Compl. at 5.

       Plaintiffs allege that, in addition to general accounting services, TBC provided business

advice which included aiding Tougher’s efforts to secure bonding for public sector contracts. On

February 26, 2004, Defendants issued a report of Tougher’s consolidated financial statements for

the year ending December 31, 2003. Subsequently, on April 7, 2004, Plaintiffs entered into an

indemnity agreement with Zurich American Company and Fidelity & Deposit Company of

Maryland (“the Surety”), contractually establishing the contingency of personal liability by

Plaintiffs for Tougher debts; Plaintiffs allege they entered this agreement in reasonable reliance

upon the report TCB issued in February. Compl. at 6. Plaintiffs assert they continued to operate

Tougher based upon that report, believing the company to be financially viable and the potentiality

of exposure to personal liability under the indemnity agreement would not come to pass. Id. at 7.

       Thereafter, Defendants conducted an audit of Tougher as of December 31, 2004; related to

this audit, Defendants are alleged to have provided Plaintiffs with a preliminary consolidated

balance sheet and statement of income and earnings for that period on or about April 7, 2005 which


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stated net income to be $143,694 and a high level of accounts receivable. Id. at 8. Next,

Defendants are alleged to have produced a preliminary 2004 report listing a net loss of $95,538 and

a similarly high level of accounts receivable, which Tougher and Plaintiffs received on April 20,

2005. Id. Plaintiffs allege that they proceeded, individually and through their accountants, Jump,

Scutellaro and Company, L.L.P. (“Jump L.L.P.”), to ask Defendants whether the reports accurately

stated allowances for accounts receivable for previous years, to which the Defendants are alleged to

have responded with assurances of accuracy. Id. at 9. Acting in reasonable reliance on the reports

and Defendants’ assurances, Plaintiffs allege that they allowed the Surety to issue bonds in

connection with new construction jobs taken on by Tougher in May and June of 2005. Id. at 10.

       On July 25, 2005, Defendants are alleged to have issued the final report of their audit of

Tougher as of December 21, 2004, reporting substantially similar high levels of accounts receivable

of approximately $13,000,000 and net income of $142,462. Id. Then on or around September 27,

2005, Defendants are alleged to have reported on Tougher’s balance sheet as of June 30, 2005 and

stated accounts receivable as now being approximately $8.9 million and net income as $148,337.

Plaintiffs allege that they continued to reasonably rely on this September 2005 report. Id. at 11.

Jump L.L.P. is alleged to have reviewed Tougher’s finances soon thereafter in October 2005 and

determined that Tougher’s accounts receivable were “grossly overstated, in that nearly $2.9 million

of accounts receivable was over 120 days old, $1.6 million was invoiced in 2004 or earlier, and

nearly $500,000 had been invoiced in 2003 or earlier.” Id. Further, Jump L.L.P. is alleged to have

found that, due to a lack of certain documentation, recognized revenue figures reported by

Defendants were overstated by at least $1.4 million. Id.

       Several month later, on December 31, 2005, Plaintiffs sold their entire interest in Tougher to


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Shaw, but “it was too late [for Plaintiffs] to limit their exposure on the Surety bonds” under the

indemnification agreement, and “subsequent to the Plaintiffs’ sale of their interest . . . Tougher

began to default on its bonded contracts and obligations, both in respect to performance and

payment, resulting in claims being filed against the bonds issued by the Surety.” Id. at 13.

Eventually, after Plaintiffs ceased to have any interest in the company, Tougher entered Chapter 11

bankruptcy on November 3, 2006, and, as a result, Plaintiffs allege that there are no assets to satisfy

obligations under the Surety bonds, leaving Plaintiff personally liable to the Surety in excess of $1.8

million in addition to attorney fees, costs and other damages which Plaintiffs claim amount to

approximately $3 million. Id. at 13-14.

       Plaintiffs commenced this action against Defendants in Albany County Supreme Court on or

about March 20, 2008, and it came before this Court on March 6, 2009. Previously, Plaintiffs

brought an action against Shaw in this Court on November 28, 2006, for breaching the terms of their

stock purchase agreement, which included an assumption by Shaw of indemnification obligations

with respect to the Surety; Plaintiffs’ unopposed motion for summary judgment was granted,

thereby awarding them, inter alia, compensatory damages and specific performance by Shaw of his

obligations under the purchase agreement. See generally Abramo et al v. Shaw, Case No. 1:06-cv-

1433, Dkt No. 14. In the present action, however, Defendants have moved to dismiss Plaintiffs’

Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6), arguing that Plaintiffs’ claims are

legally deficient. The Court turns now to that Motion.



III.   STANDARD OF REVIEW

       When considering a motion to dismiss pursuant to Rule 12(b)(6), a district court must accept


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the allegations made by the non-moving party in its pleading as true and “draw all inferences in the

light most favorable” to the non-moving party. In re NYSE Specialists Securities Litig., 503 F.3d

89, 95 (2d Cir. 2007). A party seeking dismissal of a pleading under Rule 12(b)(6) bears a heavy

burden, as the question presented by such a motion is not whether the claimant is ultimately likely to

prevail, “‘but whether the claimant is entitled to offer evidence to support the claims.’” Log On

America, Inc. v. Promethean Asset Mgmt. L.L.C., 223 F. Supp. 2d 435, 441 (S.D.N.Y. 2001)

(quoting Gant v. Wallingford Bd. of Educ., 69 F.3d 669, 673 (2d. Cir. 1995) (internal quotation and

citations omitted)). “In order to withstand a motion to dismiss, a complaint must plead ‘enough

facts to state a claim for relief that is plausible on its face.’” Patane v. Clark, 508 F.3d 106, 111-12

(2d Cir. 2007) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “While

Twombly does not require heightened fact pleading of specifics, it does require enough facts to

‘nudge [the non-moving party’s] claims across the line from conceivable to plausible.’” In re

Elevator Antitrust Litig., 502 F.3d 47, 50 (2d Cir. 2007) (quoting Twombly, 550 U.S. at 570).

When considering a motion to dismiss a pleading for failure to state a claim, a court “may consider

all papers and exhibits appended to the [pleading], as well as any matters of which judicial notice

may be taken.” Hirsch v. Arthur Andersen and Co., 72 F.3d 1085, 1092 (2d Cir. 1995); see Cortec

Industries, Inc. v. Sum Holding L.P., 949 F.2d 42, 47 (2d Cir. 1991) (“the complaint is deemed to

include any written instrument attached to it as an exhibit or any statements or documents

incorporated in it by reference.”) (citation omitted). “‘[W]hen a plaintiff chooses not to attach to the

complaint or incorporate by reference a [document] upon which it solely relies and which is integral

to the complaint,’ the court may nevertheless take the document into consideration in deciding the

defendant’s motion to dismiss[.]” Int’l Audiotext Network, Inc. v. American Tel. and Tel. Co., 62


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F.3d 69, 72 (2d Cir. 1995) (quoting Cortec Industries, 949 F.2d at 47); see Chambers v. Time

Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002) (emphasizing that “a plaintiff’s reliance on the terms

and effect of a[n external] document in drafting the complaint is a necessary prerequisite to the

court’s consideration of the document on a dismissal motion; mere notice or possession is not

enough.”). If a court considers materials other than those listed above, “the motion must be treated

as one for summary judgment under Rule 56.” FED . R. CIV . P. 12(d); see Global Network

Communications, Inc. v. City of New York, 458 F.3d 150, 154-56 (2d Cir. 2006).



IV.    DISCUSSION

A. Professional Malpractice - Claim One

               i. Pre-March 21, 2005 Negligence

       Plaintiff’s First Cause of Action asserts that Defendants committed professional malpractice

in their provision of accounting services for Tougher and Plaintiffs. This claim rests on allegations

that Defendants owed Plaintiffs a duty to exercise the care generally exercised in the accounting

profession, and that Defendants breached this duty, that Plaintiffs reasonably relied on Defendants’

allegedly negligent work, and that this reliance caused Plaintiffs to suffer damages. The first

instance of professional negligence alleged by Plaintiffs is the independent auditor’s report

submitted on February 26, 2004 which reviewed Tougher’s finances for the fiscal year ending on

December 31, 2003. Compl. at 14. The last instance of professional negligence specifically alleged

by Plaintiffs is the report Defendants issued on September 27, 2005 providing an updated review of

Tougher’s balance sheets. Plaintiffs’ allegations of causation and injury are expressed in their

statement that “[b]y reason of the malpractice, negligence, carelessness, and recklessness of the


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Defendants, the Plaintiffs have suffered damages by reason of their exposure on the Surety bonds

and other damages and losses believed to be in excess of $3,000,000.” Id. at 17.

       Given the dates of the events on which Plaintiffs’ claim is predicated, Defendants have

moved to dismiss the professional negligence claim as time-barred based upon application of

controlling state law. Defendants’ argument is comprised of two parts: first, the contention that the

pertinent statute of limitations in conjunction with the time at which Plaintiffs’ action accrued bar

Plaintiffs’ malpractice claim for services received prior to three years before the filing date of the

action; and further, the contention that Plaintiffs’ entire malpractice claim, despite allegations of

negligent acts not directly prohibited by the statute of limitations, is nonetheless time-barred

because the damages pleaded by Plaintiffs are alleged to have arisen solely from the services

received prior to three years before the filing date of the action.

       To rule on these issues, the Court must initially determine the applicable law. As a federal

court sitting in New York, and exercising diversity jurisdiction, New York state choice-of-law rules

and statutes of limitations govern this case. Stuart v. American Cyanamid Co., 158 F.3d 622, 626

(2d Cir. 1998); see also Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941). While

“New York courts generally apply New York’s statutes of limitations, even when the injury giving

rise to the action occurred outside New York . . . [t]his general rule, however, is subject to a

traditional statutory exception, New York’s ‘borrowing’ statute, C.P.LR. § 202.” Stuart, 158 F.3d at

626 (citation omitted). Section 202 provides that:

   An action based upon a cause of action accruing without the state cannot be
   commenced after the expiration of the time limited by the laws of either the state or
   the place without the state where the cause of action accrued, except that where the
   cause of action accrued in favor of a resident of the state the time limited by the laws
   of the state shall apply.


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N.Y. C.P.L.R. 202. In other words, “a case filed by a non-resident plaintiff requires application of

the shorter statute of limitations period, as well as all applicable tolling provisions, provided by

either New York or the state where the cause of action accrued.” Cantor Fitzgerald v. Lutnick, 313

F.3d 704, 710 (2d Cir. 2002). Ultimately, the effect of the borrowing statute is that “an action by a

nonresident on a foreign cause of action is untimely if it is barred under the law of either New York

or the state where the injury occurred.” Stuart, 158 F.3d at 627.

        In the present case, section 202 directs this Court to determine whether Plaintiffs’

professional negligence claim is barred by either the New York or New Jersey statute of limitations

for this type of action; New Jersey is the site where the cause of action is alleged to have accrued.

See Global Fin. Corp. v. Triarc Corp., 93 N.Y.2d 525, 529 (1999) (“[A] cause of action accrues at

the time and in the place of the injury . . . [and w]hen an alleged injury is purely economic, the place

of injury usually is where the plaintiff resides and sustains the economic impact of the loss.”)

(citations omitted). New York’s statute of limitations for professional malpractice is set forth in

N.Y. C.P.L.R. 214(6). Among the “[a]ctions to be commenced within three years,” § 214 lists “an

action to recover damages for malpractice, other than medical, dental or podiatric malpractice,

regardless of whether the underlying theory is based in contract or tort.” This three-year period is

shorter than the six years provided for under New Jersey law. See N.J. STAT . ANN . §2A:14-1.

Therefore, because New York law prescribes the shorter limitations period, its three-year term

applies in this case.

        Of related consideration is the law defining accrual dates for Plaintiffs’ action. Under New

York law, “[i]n the context of a malpractice action against an accountant, the claim accrues upon the

client’s receipt of the accountant’s work product since this is the point that a client reasonably relies


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on the accountant’s skill and advice and, as a consequence of such reliance, can become liable for

tax deficiencies.” Ackerman v. Price Waterhouse, 84 N.Y.2d 535, 541 (1991). Plaintiffs, however,

make the argument that even assuming the New York statute of limitations, and all applicable

tolling provisions, govern their claim, New Jersey’s “discovery rule” for the accrual of professional

negligence actions should nonetheless apply in this case. The adoption of this portion of New

Jersey law, which Plaintiffs argue defines accrual as the time that they discovered the alleged

malpractice, would effectively toll the New York statute of limitations from the time at which

Plaintiffs received Defendants’ work and thus push forward New York’s statue of limitations. Not

only would such a result directly conflict with the policy of N.Y. C.P.L.R. 202, but there is simply

no sound reason or applicable precedent given for why this isolated element of New Jersey law

should be taken to operate in the present case. Accordingly, the Court finds that New York law

allows the Plaintiffs three years from the time that they received negligent work from Defendants to

bring a malpractice claim based on that work. Plaintiffs filed against Defendants on March 21,

2008. Thus, their professional negligence claim cannot arise from Defendants’ work received prior

to March 21, 2005. Any claim based on alleged negligence which occurred before that date is time-

barred under N.Y. C.P.L.R. 214(6).

       Plaintiffs contend that New York’s “continuous representation” doctrine, which carves out a

limited exception to the three-year bar in qualifying circumstances, should prevent the statute of

limitations from barring any portion of their claim.1 Generally speaking, the doctrine “recognizes


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         The “continuous representation” doctrine originated with respect to medical malpractice
claims and is codified as such at N.Y. C.P.L.R. 214-a, termed “continuous treatment.” However,
“[t]he rule of continuous treatment, or more appropriately continuous representation, applies to
other types of professionals, such as lawyers. Williamson v. PricewaterhouseCoopers LLP, 9
N.Y.3d 1 (2007).

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that a person seeking professional assistance has a right to repose confidence in the professional’s

ability and good faith, and realistically cannot be expected to question and assess the techniques

employed or manner in which the services are rendered.” Shumsky v. Eisenstein, 96 N.Y.2d 164,

167 (2001). The doctrine has a narrow scope, however, which is commensurate with the precise

policy interests it serves. “Application of the continuous representation or treatment doctrine is

nonetheless generally limited to the course of representation concerning a specific legal matter or of

treatment of a specific ailment or complaint; ‘the concern, of course, is whether there has been

continuous treatment, and not merely a continuing relation between physician and patient.’ Id.

(quoting McDermott v. Torre, 56 N.Y.2d 399, 405 (1982)). Thus, the “continuous representation

doctrine tolls the statute of limitations . . . where there is a mutual understanding of the need for

further representation on the specific subject matter underlying the malpractice claim.” McCoy v.

Feinman, 99 N.Y.2d 295, 306 (2002).

       In the recent case of Williamson v. PricewaterhouseCoopers LLP, 9 N.Y.3d 1 (2007) , the

Court of Appeals considered application of the continuous representation doctrine in the context of

an accounting malpractice claim. The defendant had employed an improper valuation technique in

performing annual audits of an investment fund, resulting in material overstatements of the holdings

of the funds for a number of years. The trustee of that fund brought suit more than three years after

the last improper audit had occurred and argued that the continuous representation doctrine should

permit the action to proceed. After discussing the policy rationale of the doctrine, the Court of

Appeals concluded that “[t]aken together, plaintiff’s allegations establish defendant’s failures within

a continuing professional relationship, not a course of representation as to the particular problems




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(conditions) that gave rise to plaintiff’s malpractice claims,” and therefore the doctrine had no

application. Id. Per the plaintiff’s allegations, the investment fund “entered into annual

engagements with defendant for the provision of separate and discrete audit services for the Funds’

year-end financial statements, and once defendant performed the services for a particular year, no

further work as to that year was undertaken;” there was no allegation that the fund and defendant

“explicitly contemplated further representation regarding the audits.” Id. Without this “mutual

understanding”and because the fund lacked “awareness of a condition or problem warranting further

representation,” the court found that “the purpose underlying the continuous representation

doctrine” was not served. Id.

       The Williamson analysis, given the substantially similar facts to the case at issue, is highly

instructive for this Court. While Plaintiffs allege facts which show an ongoing business relationship

in the provision of periodic auditing services, they do not allege that there was a continuing course

of representation with respect to a particular service being rendered by Defendants. This distinction

is key, and the absence of such an actual allegation places the business relationship between

Plaintiffs and Defendants outside the scope of the “continuous representation” exception to the

statute of limitations. Plaintiffs allege only discrete services performed by Defendants, and do not

indicate the existence of a mutual understanding between the parties that a certain service, such as a

past audit, was specifically subject to ongoing representation, such as “corrective or remedial

services (e.g., to reexamine a prior year’s financial statements or redo a prior year’s audit).” Id.

That Defendants’ various services contributed to Tougher obtaining bonding is consistent with the

parties’ continuous business relationship, but it does not suffice as the kind of particular, ongoing

problem necessary to qualify under the continuous representation doctrine. Without Plaintiffs’


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“awareness of a condition or problem warranting further representation[, and since]. . . no course of

representation was alleged,” Plaintiffs were not obligated to interrupt “a course of representation as

to the particular problems” underlying their malpractice claim in order to cease their business

relationship with Defendants and bring suit against them. Id. Accordingly, the continuous

representation doctrine does not apply in this case. No exception alters the Court’s finding that

Plaintiffs’ professional negligence claim cannot arise from Defendants’ work received prior to

March 21, 2005.

               ii. Post-March 21, 2005 Negligence

       Defendants’ Motion contends that not only is the portion of Plaintiffs’ malpractice claim

which alleges negligence occurring before March 21, 2005 time-barred, but that Plaintiffs’ entire

malpractice claim, as pleaded, is also barred because Plaintiffs’ alleged damages arise solely from

negligence during that period; this is so, Defendants contend, because all of Plaintiffs’ alleged

damages stem from their April 7, 2004 entry into the indemnification agreement. Mot. at 9. Under

this view, even though Plaintiffs allege that the financial reports issued by Defendants on April 20,

2005, July 25, 2005 and September 27, 2005 were instances of malpractice, the malpractice claim

should be dismissed because there are no alleged damages which derive from the Defendants’ work

post-dating the March 21, 2005 bar. Review of Plaintiffs’ Complaint persuades the Court that,

while Defendants’ argument may or may not ultimately have merit, there are issues of material fact

which prevent the Court from dismissing Plaintiffs’ malpractice claim in its entirety.

       The Complaint asserts that Plaintiffs received negligent work on the aforementioned dates

for which their action remains viable under the statute of limitations. The Complaint’s allegation of

damages arising from the malpractice claim is not differentiated with respect to what instances of


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negligence caused what injury to Plaintiffs. See Compl. at 14-17. Indeed, the manner in which

Plaintiffs plead causation -- the connection between the Defendants’ alleged negligence and ultimate

liability and costs suffered by Plaintiffs -- is far from a model of adequate pleading, and Defendants

assert that it is legally deficient. Except for broadly alleging that Plaintiffs relied on inaccurate

accounting reports when entering into and approving bonding under the indemnity agreement, the

Complaint does not explain how the inaccuracies and reliance actually caused or resulted in the

losses subsequently experienced. For example, as Defendants contend, adverse business conditions,

mistakes and failures by Tougher may have directly led to the losses. Mot. at 13. Per the

Complaint, Plaintiffs allege only the initial step of reliance in assuming the risk of personal liability

and the ultimate assertion of $3,000,000 in damages when the Tougher collapsed. Compl. at 16-17.

Nonetheless, in line with Plaintiffs pleadings, it is possible that Plaintiffs would not have entered

into the general indemnity agreement if Defendants’ accounting work had been performed

otherwise, though this possibility encounters a limitations bar. Further, however, having once

entered the indemnity agreement, Plaintiffs raise the possibility that they may have had

opportunities to have avoiding incurring potential liabilities under the agreement if they had known

about the poor financial and operational health of Tougher. At present, these issues create questions

of fact, and they pose reasonable inferences that the Court shall make in considering Defendants’

Motion.

        Because of the bar imposed by the three-year limitations period, it is evident that Plaintiffs

cannot sue for damages arising from the allegedly negligent work on which Plaintiffs claim to have

relied in entering the indemnity agreement, regardless of when those damages may have been

incurred; they can only sue for damages that arise from work claimed as malpractice which was


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received after March 21, 2005. Thus, the question is whether Plaintiffs’ Complaint sufficiently

alleges damages arising from malpractice occurring after that date or whether all of the damages

alleged arise from negligent work received at a time for which action is barred. Specifically, in

reference to the Complaint, the question becomes whether Plaintiffs’ allegations that they “allowed

the Surety to issue bond[s]” on May 3, 2005 and June 9, 2005, and their general allegations of

“damages by reason of their exposure on the Surety bonds and other damages and losses believed to

be in excess of $3,000,000” indicates the existence of a malpractice claim for damages that are not

barred by the statute of limitations. See Compl. at 10, 17.

       The Court does not agree with Defendants’ contention that Plaintiffs’ entire malpractice

claim is necessarily barred by the statute of limitations. The allegations that negligence by

Defendants was a substantial cause of Plaintiffs’ allowance of bonds to issue on May 3 and June 9

of 2005, which in turn led to damages, create issues of facts as to whether damages indeed arose

from malpractice committed during the time period permitting suit. Accordingly, the Court

dismisses with prejudice only those claims based on pre-March 21, 2005 negligence and recognizes

that a possible malpractice claim may be contained within or indicated by Plaintiffs’ broad

malpractice claim.

       The fate of what remains of Plaintiffs’ current claim in view of this Court’s immediate

rulings is thus unsettled. The fact that Plaintiffs’ malpractice claim is not barred with respect to a

certain subset of allegations does not mean that Plaintiffs’ pleadings, in their current form, are

sufficient to avoid dismissal. Federal Rule of Civil Procedure 8(a) requires there to be “a short and

plain statement of the claim showing that the pleader is entitled to relief,” and Plaintiffs must allege

facts that make out a facially plausible claim. Patane, 508 F.3d at 111-12. As a result of this


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Court’s decision on the application of the statute of limitations, these requirements are not met;

because Plaintiffs asserted their malpractice claim without differentiating the action either with

respect to the impact of the statute of limitations or with regard to what damages were substantially

caused by what acts of negligence, the Court cannot identify an intact section of Plaintiffs’ pleading

operable as a sufficient claim. For example, the Court cannot assume that the same damages pled

for the entire malpractice claim may be fully transferred to the claim that may remain. It is

necessary, then, that the portion of Plaintiffs’ malpractice claim which is predicated on negligence

after March 21, 2005 be dismissed, but without prejudice. Accordingly, consistent with the Court’s

analysis, Plaintiffs may re-file upon their choosing.

               iii. Privity

       Defendants also challenge Plaintiffs’ claim as lacking a requisite basis in privity between the

parties. Because TBC prepared their work product for Tougher and Plaintiffs were simply corporate

shareholders, Defendants assert that there is not the contractual privity or near-privity required to

assert a professional negligence claim. It is conceded that there is no direct contractual relationship

between the parties, and so the issue raised is whether the parties had a relationship or connections

that permit the Plaintiffs to bring a malpractice claim. Under New York law:

   Before accountants may be held liable in negligence to non-contractual parties who
   rely to their detriment on inaccurate financial reports, certain prerequisites must be
   satisfied: (1) the accountants must have been aware that the financial reports were to
   be used for a particular purpose or purposes; (2) in the furtherance of which a known
   party or parties was intended to rely; and (3) there must have been some conduct on
   the part of the accountants linking them to that party or parties, which evinces the
   accountants’ understanding of that party or parties’ reliance.

Credit Alliance Corp. v. Arthur Andersen & Co., 65 N.Y.2d 536, 551 (1985). “The indicia, while

distinct, are interrelated and collectively require a third party claiming harm to demonstrate a


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relationship or bond with the once-removed accountants sufficiently approaching privity based on

some conduct on the part of the accountants.” Security Pacific Business Credit, Inc. v. Peat

Marwick Main & Co., 79 N.Y.2d 695, 702-3 (1992) (quotations and citations omitted). For

example, in the companion to Credit Alliance Corp., European Am. Bank & Trust Co. v. Straughs

& Kaye, 65 N.Y.2d 536, 545 (1985), the court found that “[b]ecause [plaintiff’s] complaint and

affidavit posit a direct nexus between the parties, to wit: the direct communications between them

concerning [plaintiff’s] intended reliance” the causes of action were adequately alleged.

       Plaintiffs’ Complaint sufficiently alleges facts supporting the criteria of near privity. It is

asserted that Defendants knew that their financial reports would be used in connection with

obtaining surety bonds; and knew that Plaintiffs would rely on the reports to this end; and that

Defendants sent reports to the Plaintiffs as three of the four owners of the company, members of the

Board of Directors and the principals responsible for securing bonding through the signing of

personal guarantees. See generally, Compl. at 4-14. The Court observes that Plaintiffs’ pleadings

indicate a very real “nexus” between the parties. Taking the factual contents of the Complaint as

true, the Defendants work was done, in significant part, to obtain the bonding that necessarily

involved Plaintiffs signing the indemnity agreement. Thus, by that Complaint, Defendants were

employed by Tougher, where Plaintiffs comprise three fourths of Tougher, to generate information

for Tougher and Plaintiffs in order for the latter to undertake obligations to benefit the former. The

limited number of interwoven actors in these circumstances and the sufficiency of Plaintiffs’

allegations as to the Credit Alliance Corp. criteria persuade this Court that near privity is adequately

alleged for purposes of maintaining this action.




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B. Duplicative Claims - Claims Two, Three and Four

       In addition to the claim of professional malpractice, Plaintiffs’ Complaint asserts four other

causes of action: fraudulent misrepresentation, aiding and abetting fraud, aiding and abetting a

breach of fiduciary duty, and a conspiracy violation of the Racketeering Influence and Corrupt

Organizations Act under section 1962(d) of that Act (“RICO claim”). Setting aside the RICO claim

for the moment, the Court’s review of the factual allegations underlying these claims and the

Plaintiffs’ recitation of damages identical to those alleged in the malpractice claim ascertains that

dismissal of these latter claims is warranted for presenting duplications of Plaintiffs’ malpractice

action. “Where, as here, a fraud claim is asserted in connection with charges of professional

malpractice, it is sustainable only to the extent that it is premised upon one or more affirmative,

intentional misrepresentations . . . which have caused additional damages, separate and distinct from

those generated by the alleged malpractice.” Tasseff v. Nussbaumer & Clarke, Inc., 298 A.D.2d

877, 878 (4th Dept. 2002) (quoting White of Lake George, Inc. v. Bell, 251 A.D.2d 777, 778 (3rd

Dept. 1998). White of Lake George states that, along with the necessary pleading of additional

damages, a fraud claim that arises out of the broad set of facts on which a malpractice claim is based

must also allege “something more egregious than mere ‘concealment or failure to disclose [one’s]

own malpractice.’” White of Lake George, Inc., 251 A.D.2d at 778 (quoting LaBrake v. Enzien, 167

A.D.2d 709 (3rd Dept. 1990) (explaining that “where the measure of damages in each case is the

same . . . a separate cause of action for fraud may be established where exposure to liability is not

based on errors of professional judgment, but is predicated on proof of the commission of an

intentional tort.”)). The Complaint before the Court alleges a single claim of professional

negligence on the part of Defendants, while the other claims, on their face, are restated and re-


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labeled iterations of that cause of action.

       First, each of these latter claims repeats the same damages element with no substantive

variation from the malpractice pleading. Thus, the negligence claim asserts: “By reason of the

malpractice, negligence, carelessness and recklessness of the Defendants, the Plaintiffs have

suffered damages by reason of their exposure on the Surety bonds and other damages and losses

believed to be in excess of $3,000,000.” The fraudulent misrepresentation claim states: “As the

direct and proximate result of Plaintiffs’ detrimental reliance upon the Defendants’ fraudulent or

reckless misrepresentations, the Plaintiffs have suffered damages in excess of $3,000,000.” Next,

the aiding and abetting fraud claim recites: “As the direct and proximate result of the Defendants[’]

actions, the Plaintiffs have suffered damages in excess of $3,000,000.” The aiding and abetting

breach of fiduciary duties claim, in parallel fashion, alleges: “As a direct and proximate result of

Defendant’ aiding and abetting of Shaw’s breach of fiduciary duty to the Plaintiffs, the Plaintiffs

have suffered damages in excess of $3,000,000.” Finally, the RICO claim asserts: “As the direct,

proximate, and foreseeable result of the aforesaid activities by Shaw and the Defendants, the

Plaintiffs have suffered damages in excess of $3,000,000.” See generally Compl. It is no

coincidence that these claimed damages are identical; the factual allegations made to support them

are precisely the same, as well. Indeed, the only difference between the claims, each of which

incorporates the Complaint’s main body of allegations and the contents of any preceding claims, is

an overlay of conclusory assertions matching the elements required for each claim.

       The fraud claim, for example, simply adds the allegation that Defendants acted with

fraudulent intent, specifically with respect to representations concerning the quality and standards of

their work and their own independence, such that the alleged negligent work product of Defendants


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is purported to take on the form of fraud. Conspicuously absent are any factual allegations of

“affirmative, intentional misrepresentations . . . which have caused additional damages, separate and

distinct from those generated by the alleged malpractice.” Tasseff, 298 A.D.2d at 878. The aiding

and abetting claims are even more bare of substance that would render them separate from

Plaintiffs’ malpractice claim. Each contains no independent factual allegations and rests entirely on

the Defendants’ alleged professional negligence, while adding the skeletal language that Defendants

were “explicitly or implicitly, agreeing or conspiring” to further Shaw’s fraud and that they assisted

his fiduciary breach by “knowingly and deliberately providing audits, reports, opinions, and reviews

that were not independent and that did not accurately reflect Tougher’s financial condition in

accordance with accepted accounting principles and standards.” Compl. at 19, 21. It is apparent

that these claims do no more than attach a series of terms to the core cause of action and factual

allegations of accounting malpractice. See American Tissue, Inc. v. Andersen, 275 F. Supp. 2d 398,

405 n.7 (S.D.N.Y. 2003) (“Although [Plaintiff] brings claims for malpractice, breach of contract,

and breach of fiduciary duty, these three causes of action boil down to one claim for the provision of

deficient accounting services.” N.Y. C.P.L.R. 214(6) specifies that a malpractice claim, “regardless

of whether the underlying theory is based in contract or tort,” must be brought within three years of

its accrual; this Court may not permit Plaintiffs to avoid that statutory bar by styling their

professional negligence claim as any number of others causes of action without alleging sufficient

facts and damages to render those claims independent. Accordingly, Claims Two, Three and Four

on dismissed on this basis.



C. RICO Claim - Claim Five


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       Plaintiffs’ RICO claim fails for independent reasons. As provided by 18 U.S.C. § 1962(c), it

is unlawful “for any person employed by or associated with any enterprise . . . to conduct or

participate, directly or indirectly, in the conduct of such enterprise’s affairs through a pattern of

racketeering activity.” Further, under subsection (d), “[i]t shall be unlawful for any person to

conspire to violate any of the provisions of subsection . . . (c) of this section.” 18 U.S.C. § 1962(d).

It is under this latter provision that Plaintiffs allege Defendants conspired with Shaw to violate §

1962(c) “to prepare false, misleading, and/or fraudulent financial audits, reports, and K-1

Statements for Tougher . . . by reflecting a more favorable financial outcome and condition of the

Company than actually existed . . . .” RICO Case Statement at 1. Critically, however, in the

absence of a valid substantive cause of action, § 1962(c) in the instant matter, there can be no

cognizable conspiracy claim under § 1962(d). Thus, at this stage, Plaintiffs must allege that the

Defendants “agreed to form and associate themselves with a RICO enterprise and that they agreed to

commit two predicate acts in furtherance of a pattern of racketeering activity in connection with the

enterprise.” Cofacredit, S.A. v. Windsor Plumbing Supply Co., 187 F.3d 229 (2d Cir. 1999).

Because a “conspirator must intend to further an endeavor which, if completed, would satisfy all of

the elements of a substantive criminal offense,” the allegations against Defendants, if proven, must

show that the predicate acts to which they are alleged to have agreed would constitute a pattern of

racketeering activity had they been carried out. Salina v. United States, 522 U.S. 52 (1998). “Thus,

under any prong of §1962, a plaintiff in a civil RICO suit must establish a pattern of racketeering

activity.” Spool v. World Child Int’l Adoption Agency, 520 F.3d 178, 183 (2d Cir. 2008)

(quotations and citations omitted).

       The defect in Plaintiffs’ RICO claim is simple and unequivocal. There are no factual


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allegations that, if proven, would show Defendants conspired to engage in a pattern of racketeering;

rather, the allegations describe activity that definitively does not rise to the level of such a pattern.

In order to allege a sufficient pattern, RICO imposes a “continuity” requirement that can be met

“either by showing a ‘closed-ended’ pattern -- a series of related predicate acts extending over a

substantial period of time -- or by demonstrating an ‘open-ended’ pattern of racketeering activity

that poses a threat of continuing criminal conduct beyond the period during which the predicate acts

were performed.” Id. (citations omitted). Here, Plaintiffs attempt to plead a closed-ended pattern,

see RICO Case Statement at 7, but their allegations fall short.

        “A closed-ended pattern of racketeering activity involves predicate acts ‘extending over a

substantial period of time.’” First Capital Asset Mgmt. v. Satinwood, Inc., 385 F.3d 159, 181 (2d

Cir. 2004) (quoting GICC Capital Corp. v. Technology Fin. Group, 67 F.3d 463, 466 (2d Cir.

1995)). The Second Circuit “has never found a closed-ended pattern where the predicate acts

spanned fewer than two years . . . [and] while two years may be the minimum duration necessary to

find closed-ended continuity, the mere fact that predicate acts span two years is insufficient, without

more, to support a finding of a closed-ended pattern.” First Capital Asset Mgmt., 385 F.3d at 181

(emphasis in original). As to this further content, “[a]lthough continuity is ‘primarily a temporal

concept, other factors such as the number and variety of predicate acts, the number of both

participants and victims, and the presence of separate schemes are also relevant in determining

whether closed-ended continuity exists.’” Id. (quoting De Falco v. Bernas, 244 F.3d 286, 321 (2d

Cir. 2001)).

        In response to the prompt to “[p]rovide the dates of the predicate acts, the participants in the

predicate acts and a description of the facts surrounding the predicate acts,” see RICO Case


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Statement at 3, Plaintiffs allege the first predicate act occurred on February 26, 2004, when

Defendants transmitted a false and fraudulent financial report. The final predicate act is alleged to

have occurred on September 27, 2005, when Defendants transmitted a false and fraudulent financial

report. These specified allegations create a span of time approximately five months shy of two

years. Plaintiffs also reference the period of “September 2003,” the date around which Defendants

are said to have been hired;2 it is stated that Shaw and the Defendants communicated at this time,

but there is no allegation of predicate acts until the first purportedly false financial report was

transferred. “The duration of a pattern of racketeering activity is measured by the RICO predicate

acts the defendants commit,” De Falco, 244 F.3d at 321, and so the date of hiring is irrelevant for

purposes of establishing a sufficient pattern. Nonetheless, in their Response to Defendants’ Motion,

Plaintiffs assert that “the predicate acts occurred over a period of more than two years - from

September 2003 (when Defendants were retained by Tougher to perform accounting services)

through December 31, 2005 (when Plaintiffs sold their interest in Tougher).” Response at 34. As is

the case with the hiring period, the date on which Plaintiffs ceased to own any interest in Tougher is

not predicate act and was not alleged as one in the RICO Case Statement. Accordingly, the Court

must reject Plaintiffs’ efforts to cast their factual allegations as crossing the two-year minimum

threshold for a RICO pattern. Even assuming that the Court were to consider September 2003 until

December 2005 as the duration marked by predicate acts, the very limited “number and variety of

predicate acts, [] number of both participants and victims, and [] presence of separate schemes”

indicate the lack of a sufficient pattern for Plaintiffs’ RICO claim to be maintained. First Capital

Asset Mgmt., 385 F.3d at 181. As there is no pattern of racketeering activity underlying Claim Five,


       2
           Defendants allege TBC was hired in October of 2003.

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it necessarily fails and, therefore, is dismissed.

IV.     CONCLUSION

        Accordingly, it is hereby

        ORDERED, that Defendants’ Motion to Dismiss (Dkt. No. 5) is GRANTED in part and

DENIED in part, consistent with the foregoing discussion; and it is further

        ORDERED, that Plaintiffs’ Claim One is DISMISSED with prejudice as to that portion

predicated on alleged negligence barred by the applicable statute of limitations and without

prejudice as to that portion of the claim which is not time-barred; and it is further

        ORDERED, that Claims Two, Three, Four and Five are DISMISSED; and it is further

        ORDERED, that the Clerk serve a copy of this Order on the parties.

IT IS SO ORDERED.


DATED:         May 12, 2010
               Albany, New York




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